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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, NORTHERN DIVISION

 TAMMY SHELTON,                                    Case No.: 1:17-cv-00103-DAK-PMW

        Plaintiff,
                                                   ORDER
  v.

 CHIPOTLE MEXICAN GRILL, INC,                      Assigned to Honorable Dale A. Kimball
                                                   Referred to Magistrate Judge Paul M. Warner
        Defendant.


       This matter, having come before the Court on the Parties Stipulation for Dismissal with

Prejudice, and good cause appearing therefrom,


       IT IS HEREBY ORDERED, this matter is hereby DISMISSED with prejudice with each

party to bear its own attorney’s fees and costs.



       SO ORDERED this 20th day of April, 2018.



                                                       BY THE COURT:



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                                                       HONORABLE DALE A. KIMBALL
                                                       United States District Judge




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